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    MEMORANDUM FOR DHS FOIA OFFICERS AND FOIA PROFESSIONALS
                                                 CATRINA M                  Digitally signed by CATRINA M
                                                                            PAVLIK KEENAN
FROM:                     Catrina Pavlik-Keenan PAVLIK KEENAN               Date: 2023.02.09 15:46:00 -05'00'

                          Deputy Chief Freedom of Information Act Officer

SUBJECT:                  Guidance to DHS Employees on Conducting the Freedom of Information
                          Act’s “Foreseeable Harm Standard” Analysis

     I.      Introduction
Federal courts recently have closely scrutinized agency compliance with the provision of the
Freedom of Information Act (FOIA), as amended pursuant to the FOIA Improvement Act of
2016, stating agencies or departments may only withhold responsive records “if the agency
reasonably foresees that disclosure would harm an interest protected by” an exemption or if
“disclosure is prohibited by law.”1 This is typically referred to as “the foreseeable harm
standard.” On March 15, 2022, the Attorney General issued a memorandum for Heads of
Executive Departments and Agencies entitled “Freedom of Information Act Guidelines” which
set forth guidelines to “update and strengthen the federal government’s commitment to the fair
and effective administration of FOIA.”2 As articulated in those guidelines, the Attorney General
reaffirmed the requirements in the FOIA, and emphasized that agencies or departments may only
withhold responsive records “if the agency reasonably foresees that disclosure would harm an
interest protected by” an exemption or if “disclosure is prohibited by law.”3 Thus, in light of the
Attorney General’s memorandum and case law precedent, the DHS Deputy Chief FOIA Officer
provides this guidance to DHS FOIA professionals in applying and articulating the foreseeable
harm standard.
The purpose of this memorandum is to ensure that FOIA professionals adequately address the
foreseeable harm standard when processing initial FOIA requests and FOIA administrative
appeals. The discussion of foreseeable harm presupposes that a FOIA exemption applies in the
first instance.4 The foreseeable harm standard is not satisfied by generalized and conclusory
statements, but instead requires a more rigorous and particularized showing of harm for each
category of documents to be withheld. In essence, the foreseeable harm standard places an
independent and meaningful burden on agencies, representing a heightened standard.




1 5 U.S.C. § 552(a)(8)(A)(i).
2 Office of the Attorney General, U.S. Department of Justice, Freedom of Information Act Guidelines
(March 15, 2022), available at https://www.justice.gov/ag/page/file/1483516/download.
3 5 U.S.C. § 552(a)(8)(A)(i).

4 For further discussion on the FOIA exemptions, see the Department of Justice Guide to the Freedom of

Information Act. Available here: https://www.justice.gov/oip/doj-guide-freedom-information-act-0.


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    II.       Background
The Freedom of Information Act (FOIA)5 establishes a statutory right for the public to request
Federal agency records and requires agencies to make records that are responsive to these
requests promptly available. The FOIA has nine exemptions to this general rule of mandatory
disclosure.6 Many years before the FOIA Improvement Act of 2016 amended the FOIA, if an
agency determined one or more of the nine FOIA exemptions applied to a responsive record, the
analysis on whether to withhold the record7 was complete and the record could be withheld, an
approach which courts upheld. Later, based on evolving case law, several administrations
adopted a policy requiring the agency to not only identify a FOIA exemption that applied to the
record, but also to determine whether it could reasonably foresee that the disclosure of the record
would harm an interest protected by that exemption.

This latter requirement, generally known as the foreseeable harm standard, was based on a view
that even if a record was technically not required to be released (because it was protected from
disclosure by a FOIA exemption), it should not be withheld from a requester unless the release
would be harmful to an interest protected by an exemption. The FOIA Improvement Act of 2016
codified the foreseeable harm standard, creating a heightened standard. Therefore, identifying a
FOIA exemption that applies to a responsive record now is usually not the end of the analysis of
whether the record should be withheld. Recent case law also supports this view and courts have
required the showing of a particularized harm in support of withholding.

    III.      When to Apply the Foreseeable Harm Standard
              a. When Is the Foreseeable Harm Analysis Needed?

If you assess that a FOIA exemption applies to a responsive record for seven of the nine
FOIA exemptions as noted below, you must then also decide whether it is reasonably
foreseeable that harm to an interest protected by the exemption would result from the
disclosure. Certain of these exemptions do not require an extensive foreseeable harm analysis
as the Act’s exemptions have a firm harm requirement built into them. Two other FOIA
exemptions, as described below, do not require a foreseeable harm analysis.

                    i. No Foreseeable Harm Analysis Required (Exemptions 1 and 3)
In accordance with the FOIA Improvement Act of 2016, a foreseeable harm analysis is
specifically not required for records that are either: 1) protected by a statute other than
the FOIA; or 2) otherwise prohibited from disclosure by law. As a result, a foreseeable
harm analysis is generally unnecessary for records covered by Exemptions 1 and 3.




5 5 U.S.C. § 552.
6 See 5 U.S.C. § 552(b).

7 Disclosures   of records may be in full or in part, depending on the type of record and the applicability of
exemptions.
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        •   Classified records are covered by Exemption 1. It is against the law to disclose
            them to an unauthorized person, so records protected by Exemption 1 are
            prohibited from disclosure by law and a foreseeable harm analysis is not
            necessary.
        •   Records that are protected by a statute other than the FOIA are covered by
            Exemption 3.8 The amendments in the FOIA Improvement Act of 2016 explicitly
            note that a foreseeable harm analysis is not necessary for these records.9

                 ii. Concise Foreseeable Harm Analysis Required (Exemptions 4, 6 and 7)
For records covered by Exemptions 4, 6 and 7, a detailed foreseeable harm analysis is
usually unnecessary because a harm analysis is built into these exemptions due to what they
protect: commercial and financial information (Exemption 4)10, personal privacy11
(Exemptions 6 and 7(C)) and records or information compiled for law enforcement purposes
(Exemption 7).

                 iii. Detailed Foreseeable Harm Analysis Required (Exemptions 2, 5, 8, and 9)
For records covered by Exemptions 2, 5, 8, and 9, a detailed foreseeable harm analysis is
necessary because a harm analysis is not already built into these exemptions. This
memorandum will focus mostly on Exemption 5 since that exemption is relied upon
extensively by the Department and, as explained further below, where courts have required
agencies to provide a rigorous and particularized showing of harm for each category of
documents to be withheld.

Exemption 2 protects records that are related solely to the internal personnel rules and
practices of an agency (for example, records an agency typically keeps to itself for its own
use that only relate to issues of employee relations and human resources). Invoking
Exemption 2 and articulating a foreseeable harm for records covered by it will be possible
under limited circumstances where the Agency can articulate a particularized harm that may
result from release. For example, the foreseeable harm arising from the release of internal
interview questions that are reused for particular vacant positions would interfere with the
proper assessment of the applicants' qualifications.




8 For  example, the U.S. Department of Justice’s Office of Information Policy (OIP) often provides a list of
Exemption 3 statutes that courts have upheld. Available here: https://www.justice.gov/oip/
page/file/1394846/download.
9 See 5 U.S.C. § 552(a)(8)(B).

10 Records that contain trade secrets and confidential or privileged commercial and financial information

are covered by Exemption 4.
11 Exemptions 6 and Exemption 7(C) withholdings are meant to protect against disclosures that could

constitute an unreasonable invasion of personal privacy and could result in physical, professional, and
other types of harms against such individuals. If you have properly evaluated the application of these
exemptions, then it is likely that the foreseeable harm standard would also be met.

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Exemption 5 protects inter-agency or intra-agency materials that would normally be
privileged in civil discovery. This exemption incorporates privileges such as the
deliberative process privilege (which generally protects records that are pre-decisional and
include deliberations about a legal or policy matter), the attorney-client privilege (which
protects confidential communications between an attorney and the client relating to a legal
matter for which the client has sought or received legal advice), and the attorney work-
product privilege (which protects records prepared by an attorney in reasonable
contemplation of litigation).

The below list are policy purposes for why the privileges exist that are covered by
Exemption 5.

     •    The release of materials covered by the deliberative process privilege (for
          example, drafts) could cause injury to the decision-making process, a chilling
          effect on discussion, hasty or uninformed decision-making, and public
          confusion.12

     •    The release of materials covered by the attorney-client privilege (for example,
          confidential emails between an attorney and their client asking for and receiving
          legal advice) may be that the lawyer would no longer be kept fully informed by
          their client, resulting in unsound legal advice and advocacy.

     •    The release of materials covered by the attorney work-product privilege (for
          example, attorney notes made in reasonable anticipation of litigation) may be
          harm to the adversarial trial process by exposing the attorney’s preparation to
          scrutiny.

Exemptions 8 and 9: Exemption 8 protects information of agencies responsible for the
regulation or supervision of financial institutions and is almost never used by the
Department. Exemption 9 protects geological and geophysical information and data,
including maps, concerning wells (i.e., water wells, natural gas wells, and oil wells). Since
both exemptions are rarely asserted for withholding DHS records, this memorandum will
not address how the standard may apply if asserted. If you are not sure whether Exemptions
8 or 9 applies to a responsive record (or portion of it), seek additional information from a
department or agency subject-matter expert.

In summary, the foreseeable harm standard is an independent and meaningful burden on
agencies, representing a heightened standard. To meet this standard, agencies must identify
specific harms to the relevant protected interests that it can reasonably foresee would result
from disclosure and then connect the harms in a meaningful way to the information being

12 For example,   a requested record might be an inter- or intra-agency draft. The process by which a
document evolves from a draft into a final document is inherently deliberative and Exemption 5's
deliberative process privilege would generally apply. However, before you can properly withhold a
particular
of         draft under
   that particular draft Exemption
                          would harm5's
                                     an deliberative  processbyprivilege,
                                         interest protected     Exemption you 5.must consider whether the release

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withheld. To do this, agencies can describe the contents of the withheld records (e.g., the
records contain descriptions of threats and hazards) and how release of the contents would
negatively impact members of the public, agency employees’ work, or any other interest
protected by a FOIA exemption.13

As a reminder, prior to analyzing whether the standard should be applied at all, you must
carefully review all portions of the record to be sure they fall within the scope of the claimed
exemption. You must also, if possible, make a partial disclosure by reasonably segregating any
non-exempt information. FOIA professionals and analysts are encouraged to document how
they have applied the foreseeable harm standard in case a requester administratively appeals an
initial response and if it is further litigated.

            b. When to consult with a Subject Matter Expert (SME)/Program Office or
               Agency Counsel?
Once you have identified that an exemption applies to a record, you must decide whether
any foreseeable harm would result from its release. Seeking additional information from a
SME/Program Office to assess relevant factors to inform your articulation of foreseeable
harm is a best practice that ensures you have relevant facts needed to make sure your
application of an exemption is reasonable and well grounded.




13 For  instance, prematurely revealing threats and hazards would cause confusion to the public and may
result in members of the public taking action on potential threats and hazards where no action is
warranted, or in a manner not suggested by a recommendation contained in the documents.

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